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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION


ROBERT (BOB) ROSS                    §
                                     §
VS.                                  §      ACTION NO. 4:22-CV-343-Y
                                     §
ASSOCIATION OF PROFESSIONAL          §
FLIGHT ATTENDANTS, ET AL.            §

  ORDER GRANTING AMENDED MOTION FOR EXTENSION OF TIME TO ANSWER

      Pending before the Court is the First Amended Motion for

Extension of Time to File Original Answer (doc. 17) filed by defendant

McGaughey, Reber and Associates, Inc. ("MRA").1 After review of the
motion, the Court concludes that it should be and hereby is GRANTED.

MRA's deadline to respond to Plaintiff's complaint is EXTENDED until
June 30, 2022.

      SIGNED June 2, 2022.

                                         ____________________________
                                         TERRY R. MEANS
                                         UNITED STATES DISTRICT JUDGE




      1
      The Court did not receive a paper copy of or an electronic
proposed order with the motion. Counsel are reminded of this
Court's requirement that a paper copy of every motion be
transmitted to chambers upon electronic filing of the motion.
See N.D. TEX. L. CIV. R. 5.1(b); ECF Admin. Procedures Manual at
3, ¶ II(C). Counsel are also reminded that all motions require an
electronic proposed order (emailed to
means_orders@txnd.uscourts.gov upon filing of a motion). See
N.D. TEX. L. CIV. R. 7.1(c); ECF Admin. Procedures Manual at 3, ¶
II(F). Provision of these items generally expedites the Court's
consideration of the motion to which they pertain; failure to
provide these items may result in the unfiling of the motion to
which they pertain.
